Case 3:18-mc-80132-JSC Document 17-4 Filed 09/07/18 Page 1 of 9




            EXHIBIT C
          Case 3:18-mc-80132-JSC Document 17-4 Filed 09/07/18 Page 2 of 9




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                    & CONNOLLY          LLP
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                                vice)
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                       (pro hac
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 '3 Stephen      Wohlgemuth (pro(pro hac
                                      hac vice)
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   SKADDEN, ARPS, ARPS, SLATE,
                         SLATE, MEAGHER
                                  MEAGHER & FLOM
                                            FLOM LLP
                                                 LLP
   Allen
   Allen Ruby
         Ruby (SBN
                 (SBN 47109)
                       47109)
 8 Jack
   Jack P. DiCanio
           DiCanio (SBN
                     (SBN 138782)
                           138782)
   William
   William J. Casey
               Casey (SBN
                      (SBN 294086)
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           william.casey@skadden.com

   Attorneys for
13 Attorneys  for Defendants
                  Defendants
14                       SUPERIOR
                         SUPERIOR COURT
                                  COURT OF THE
                                           THE STATE
                                                STATE OF
                                                      OF CALIFORNIA
                                                         CALIFORNIA
15
                                  COUNTY
                                  COUNTY OF SANTA
                                             SANTA CLARA
                                                    CLARA
                                UNLIMITED
                                UNLIMITED CIVIL
                                          CIVIL JURISDICTION
                                                JURISDICTION
16
     PALANTIR TECHNOLOGIES INC.,
     PALANTIR TECHNOLOGIES INC.,                    Case
                                                    Case No.
                                                         No. 16CV299476
                                                             16CV299476
17
            Plaintiff,
            Plaintiff,
18                                                  NOTICE
                                                    NOTICE OF ENTRY
                                                              ENTRY OF
                                                                    OF ORDER
                                                                       ORDER

19          v.

20 MARC
   MARC L. ABRAMOWITZ,
              ABRAMOWITZ, in his individual
                                      individual
   capacity
   capacity and as trustee
                   trustee of
                           of the
                              the MARC
                                  MARC
21 ABRAMOWITZ
   ABRAMOWITZ CHARITABLE
                      CHARITABLE TRUST
                                     TRUST NO.NO.
22 2, KT4
      KT4 PARTNERS
           PARTNERS LLC,  LLC, and DOES
                                   DOES 11
   through
   through 50, inclusive,
               inclusive,
23
            Defendants.
            Defendants.
24
     ~----------------------------~
25
26

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      NOTICE
      NOTICE OF ENTRY
                ENTRY OF ORDER
                         ORDER                                       CASE NO. 16CV299476
                                                                     CASE NO. 16CV299476
        Case 3:18-mc-80132-JSC Document 17-4 Filed 09/07/18 Page 3 of 9



 1 TO
   TO ALL
      ALL PARTIES
          PARTIES AND
                  AND THEIR
                      THEIR ATTORNEYS
                            ATTORNEYS OF RECORD:
                                         RECORD:

 2         PLEASE
           PLEASE TAKE
                  TAKE NOTICE
                       NOTICE that
                              that on September
                                      September 4, 2018, the
                                                4,2018,  the Court
                                                             Court entered
                                                                   entered an Order
                                                                              Order

 3 Continuing
   Continuing the
              the Stay of Discovery.
                          Discovery. A copy
                                       copy of the
                                               the Order
                                                   Order is attached
                                                            attached as Exhibit
                                                                        Exhibit A.

 4

 5 Dated:
   Dated: September
          September 4, 2018
                    4,2018                         Respectfully
                                                   Respectfully submitted,
                                                                submitted,

 6

 7                                         By: _ _J.I!t~~:.....,(i...._Jt::.~                 _
                                           Barry
                                           Barry S. Simon
                                                    Simon (pro(pro acrIC vic
                                                                              /
 8                                         Jonathan
                                           Jonathan B. Pitt
                                                         Pitt (pr6
                                                               (pr hac
                                                                    hac ce)ce)
                                           Stephen
                                           Stephen L. Wohlgemuth
                                                        Wohlgemuth (pro  (pro hac
                                                                              hac vice)
                                                                                  vice)
 9                                         WILLIAMs
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                                                          CONNOLLY LLP   LLP
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                                               Twelfth Street
                                                          Street NW
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                                           Washington, DC 20005  20005
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13                                        Allen
                                          Allen Ruby
                                                Ruby (SBN
                                                        (SBN 47109)
                                                               47109)
                                          Jack
                                          Jack P. DiCanio
                                                  DiCanio (SBN
                                                             (SBN 138782)
                                                                   138782)
14
                                          William
                                          William J. Casey
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                                                    william.casey@skadden.com

19                                         Attorneys for Defendants
                                           Attorneysfor  Defendants

20

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22

23
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                                                   1
     NOTICE
     NOTICE OF ENTRY
               ENTRY OF ORDER
                        ORDER                                                 CASE NO. 16CV299476
                                                                              CASE NO. 16CV299476
              Case 3:18-mc-80132-JSC Document 17-4 Filed 09/07/18 Page 4 of 9
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      4                                                                            SEP 004'2018
                                                                                   SEP   . 42018
      5                                                                               oi the Court
                                                                                Clerk oft-he
                                                                                Clerk        Court
                                                                          Superior Court
                                                                         Superior  Court of CA County
                                                                                         01 CA           Santa Clara
                                                                                               County of Santa Clara

      6                                                                 BY
                                                                        BY          Julie Nashed DEPUTY
                                                                                    Julie Naslied            DEPUTY

      7

      8

      9

     10
     11

     12                       SUPERIOR
                              SUPERIOR COURT
                                       COURT OF
                                              OF THE
                                                 THE STATE
                                                      STATE OF  CALIFORNIA
                                                             OF CALIFORNIA
                                       COUNTY
                                       COUNTY OFOF SANTA
                                                   SANTA CLARA
                                                          CLARA
     13
                                     UNLIMITED
                                     UNLIMITED CIVIL
                                                CIVIL JURISDICTION
                                                      JURISDICTION
     14
     15 PALANTIR.
        PALANTlR TECHNOLOGIES
                  TECHNOLOGIES INC.,
                               INC.,                            Case
                                                                Case No.
                                                                     No. 16CV299476
                                                                         16CV299476

     16          Plaintiff,
                 Plaintiff,
                                                                ORDER
                                                                ORDER CONTINUING
                                                                       CONTINUING THE STAY
                                                                                  THE STAY
     17                                                         OF
                                                                OF DISCOVERY
                                                                   DISCOVERY
                 v.
     18                                                         Date:
                                                                Date: May
                                                                       May 18,
                                                                            18, 2018/June
                                                                                2018/June 15,   2018
                                                                                            15,2018
        MARC
        MARC L.  1. ABRAMOWITZ,
                    ABRAMOWITZ, in       in his
                                            his individual
                                                individual      Time:
                                                                Time: 10:00
                                                                       10:00 a.m.
                                                                             a.m.
     19 capacity
        capacity and
                  and as
                       as trustee
                          trustee of
                                  of the
                                     the MARC
                                          MARC                  Dept.
                                                                Dept. 9
        ABRAMOWITZ
        ABRAMOWITZ CHARITABLECHARITABLE TRUST  TRUST NO. NO.    Judge:
                                                                Judge: Hon.
                                                                       Hon. Mary
                                                                             MFlIY E.
                                                                                   E. Arand
                                                                                      Arand
     20 2, KT4
           KT4   PARTNERS
                 PARTNERS       LLC,
                                LLC,   and
                                       and DOES 1 through
                                            DOES    1 through
                                                                Complaint
                                                                Complaint filed:
                                                                          filed: September
                                                                                 September 1, 2016
                                                                                           1,2016
     21 50, inclusive,
            inclusive,
                                                                Trial
                                                                Trial date:
                                                                      date: not
                                                                            not set
                                                                                set
     22          Defendants.
                 Defendants.

     23~                                                   ~

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           ORDER
           ORDER STAYING
                 STAYING DISCOVERY
                         DISCOVERY                                                             CASE NO.:
                                                                                                    No.: 16CV299476
                                                                                                         16CV299476

                                                                   EXH
        Case 3:18-mc-80132-JSC Document 17-4 Filed 09/07/18 Page 5 of 9




1
1          The motion    Defendants for an order continuing
               motion by Defendants                         the stay on discovery
                                                 continuing the                   came on for
                                                                        discovery came

 22 hearing
    hearing before
            before the Honorable
                       Honorable Mary    Arand on May 18,
                                 Mary E. Arand                      continued to June
                                                          2018, was continued
                                                      18,2018,                        18,2018
                                                                                 June 18, 2018 in
 3 Department                were allowed to provide
   Department 9. The parties were                                 briefing, with
                                                     supplemental briefing,
                                             provide supplemental                         submission
                                                                            with the last submission

 4 received by the Court on June 22, 2018. The matter
                                 22,2018.                    been submitted,
                                                      having been
                                               matter having                 the Court
                                                                  submitted, the       orders as
                                                                                 Court orders

 5 follows:
 6                      ORDER CONTINUING             DISCOVERY
                              CONTINUING THE STAY OF DISCOVERY
 7         WHEREAS,                                 Partners LLC,
                                    Abramowitz, KT4 Partners
                    Defendants Marc Abramowitz,
           WHEREAS, Defendants                                        the Marc
                                                             LLC, and the      Abramowitz
                                                                          Marc Abramowitz

 88 Charitable
    Charitable Trust
               Trust No.
                     No.22 having moved for a protective
                           having moved                        continuing the stay of discovery
                                              protective order continuing                       until
                                                                                      discovery until

 9 Plaintiff
   Plaintiff Palantir Technologies Inc. complies
             Palantir Technologies               with Section
                                        complies with Section 2019.210        California Code of Civil
                                                              2019.210 of the California

10
10 Procedure,
   Procedure, and the Court having
                            having considered
                                   considered the Motion     having found
                                                  Motion and having       good cause
                                                                    found good               relief
                                                                               cause for the relief

11
11 sought by the Motion;
                 Motion;

12
12         IT IS HEREBY ORDERED this 4th        September, 2018,
                                         day of September,
                                     4thday                      that:
                                                           2018, that:

13
13         1.
           1. Defendants'
              Defendants' Motion    GRANTED.
                          Motion is GRANTED.

14
14         2.                         Defendants a second amended
              Palantir shall serve on Defendants
           2. Palantir                                    amended disclosure      complies with
                                                                             that complies
                                                                  disclosure that

15
15             Section
               Section 2019.210 of the California               Procedure.
                                       California Code of Civil Procedure.

16
16         3.
           3. Palantir's
              Palantir's disclosure
                         disclosure shall include               information:
                                                      following information:
                                          include the following

17
17                 a.
                   a. The total number
                                number of alleged       secrets.
                                                  trade secrets.
                                          alleged trade

18
18                 b. A reasonably
                        reasonably particular
                                   particular description         alleged trade
                                              description of each alleged                            at
                                                                                             existed at
                                                                                secret as it existed
                                                                          trade secret

19
19                    Palantir prior
                               prior to the alleged misappropriation. The Court finds
                                            alleged misappropriation.                      Palantir may
                                                                                finds that Palantir

20
20                    not describe
                          describe a trade secret with reasonable                  quoting from or
                                                                  particularity by quoting
                                                       reasonable particularity

21
21                    citing to one of Defendants'
                                       Defendants' patent
                                                   patent applications.
                                                          applications. Although Palantir may
                                                                        Although Palantir     cite to
                                                                                          may cite

22
22                    its own patent
                              patent applications,           enough to rely
                                     applications, it is not enough                             from its
                                                                                      citations from
                                                                            solely on citations
                                                                       rely solely

23                    patent applications.
                             applications.

24
24                 c.
                   c. For each alleged
                               alleged functional
                                       functional trade secret,              particular description
                                                                  reasonably particular
                                                        secret, a reasonably                        of
                                                                                        description of

25
25                    how the alleged
                              alleged trade secret works-. i.e., how
                                            secret works—Le.,                    trade secret
                                                                         alleged trade
                                                                 how the alleged

26
26                     accomplishes     function-and not a mere
                       accomplishes its function—and       mere functional
                                                                functipnal description         alleged
                                                                           description of that alleged

27                    trade secret.
28

                                                      11
     ORDER
     ORDER STAYING
           STAVING DISCOVERY
                   DISCOVERY                                                        CASE No. :: 16CV299476
                                                                                    CASE No.    16CV299476
             Case 3:18-mc-80132-JSC Document 17-4 Filed 09/07/18 Page 6 of 9

,_




      1               d.
                      d. A description
                           description of how
                                          how each
                                              each alleged trade secret
                                                   alleged trade secret is distinct      matters of general
                                                                                    from matters
                                                                           distinct from            general

     2                    knowledge in the trade
                          knowledge                            knowledge of those
                                           trade or of special knowledge    those persons         skilled
                                                                                  persons who are skilled

     3                    in the trade.
                                 trade. The Court
                                            Court finds that the trade
                                                  finds that     trade secret
                                                                       secret statement submitted by
                                                                              statement submitted

      4                                  conc1usory on the question
                          Palantir to be conclusory        question of what precisely         known to the
                                                                                      was not known
                                                                            precisely was

      5                   public, and has not explained
                          public,                       how its alleged
                                              explained how                   secrets were
                                                                alleged trade secrets      novel, justifYing
                                                                                      were novel, justifying

      6                        complete disclosure.
                          more complete disclosure. (See Perlan Therapeutics v. Superior
                                                         Perlan Therapeutics    Superior Court (2009)
                                                                                         Court (2009)

      7                   178
                          178 Cal.App.4th
                              Cal.AppAth 1333,  1351.)
                                          1333, 1351.)

      8               e.
                      e. A statement
                           statement of
                                     of whether
                                        whether each
                                                each alleged
                                                     alleged trade
                                                             trade secret
                                                                   secret is a "compilation       secret,"
                                                                                            trade secret,"
                                                                               "compilation trade

      9                   a "design concept," a "method,"
                            "design concept,"   "method," or some other
                                                                  other category
                                                                        category of trade secrets.,
                                                                                    trade secrets..

     10                        i.1. To the extent Palantir claims that its alleged
                                                  Palantir claims                        secrets are
                                                                           alleged trade secrets

     11                           "compilation
                                  "compilation trade
                                               trade secrets,"
                                                     secrets," Palantir       disclose with
                                                               Palantir shall disclose      reasonable
                                                                                       with reasonable

     12                           particularity
                                  particularity the features
                                                    features constituting those trade
                                                             constituting those       secrets. Palantir
                                                                                trade secrets.          must
                                                                                               Palantir must

     13                           disclose
                                  disclose each component that composes
                                                component that composes the compilation trade
                                                                        the compilation              with
                                                                                        trade secret with

     14                           reasonable particularity.
                                  reasonable particularity.

     15        4.
               4. Palantir
                  Palantir shall not use non-exclusive              "including but not limited
                                                       terms (e.g., "including
                                         non-exclusive terms                                   to") to
                                                                                       limited to")

     16           describe
                  describe its alleged trade secrets.
                                       trade secrets.

     17        5.
               5. Defendants
                  Defendants shall, within
                                    within fourteen                   Palantir's second
                                                            receiving Palantir's
                                           fourteen days of receiving                           trade
                                                                                        amended trade
                                                                                 second amended

     18           secret disclosure,
                         discl?sure, notify
                                     notify Palantir
                                            Palantir whether
                                                     whether or not they accept the amended
                                                                    they accept                        as
                                                                                            disclosure as
                                                                                    amended disclosure

     19           complying
                  complying with
                            with this
                                 this Order and Section 2019.210 of
                                                Section 2019.210                   Code of
                                                                        California Code
                                                                 of the California         Civil
                                                                                        of Civil

     20           Procedure.
                  Procedure.

     21        6.
               6. In the
                     the event Defendants
                               Defendants do not accept the second                     the parties
                                                                           disclosure, the
                                                                   amended disclosure,
                                                            second amended                         shall
                                                                                           parties shall

     22           meet
                  meet and confer promptly
                                  promptly regarding
                                           regarding the deficiencies ide:qtified by Defendants.
                                                         deficiencies identified                    the
                                                                                     Defendants. In the

     23            event the parties cannot
                                     cannot reach
                                            reach agreement, Palantir will arrange
                                                  agreement, Palantir                     informal
                                                                           arrange for an informal

     24            discovery
                   discovery conference
                             conference between
                                        between the Court     the parties,
                                                    Court and the                held at the
                                                                  parties, to be held        convenience
                                                                                         the convenience

     25           of the
                     the Court, regarding
                                regarding Defendants'
                                          Defendants' further
                                                      further motion
                                                              motion for a protective order.
                                                                           protective order.

     26        7.
               7. All discovery
                      discovery in the
                                   the above-captioned
                                       above-captioned action
                                                       action shall be stayed until
                                                                    be stayed           earlier of: (a)
                                                                              until the earlier

     27           Defendants'
                  Defendants' agreement
                              agreement that the
                                             the second
                                                 second amended
                                                        amended disclosure complies with
                                                                disclosure complies      Section
                                                                                    with Section

     28           2019.210        further order of the Court.
                  2019.210 or (b) further

                                                           2
          ORDER
          ORDER STAYING DISCOVERY
                STAYING DISCOVERY                                                         CASE No.
                                                                                               No. :: 16CV299476
                                                                                                      16CV299476
             Case 3:18-mc-80132-JSC Document 17-4 Filed 09/07/18 (Page 7 of 9
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     1         8. If
                  If Defendants accept or the
                     Defendants accept    the Court finds that
                                              Court finds that the
                                                               the second
                                                                   second amended trade secret
                                                                          amended trade secret disclosure
                                                                                               disclosure

     2            complies
                  complies with
                           with Section
                                Section 2019.210,
                                        2019.210, then future amendments
                                                  then future amendments shall be permitted
                                                                         shall be permitted only
                                                                                            only upon
                                                                                                 upon

     3            a showing
                    showing of
                            of good
                               good cause.
                                    cause.

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     5
     6
                    q    31 /w)/E)
                                                   HONORABLE MARY
                                                   HONORABLE
                                                   ruDGE OF
                                                   JUDGE OF THE
                                                                    C-, Arand

                                                               MARY ARAND
                                                                     ARAND
                                                            THE SUPERIOR
                                                                SUPERIOR COURT
                                                                         COURT

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                                                        3
          ORDER
          ORDER STAYING
                STAYING DISCOVERY
                        DISCOVERY                                                    CASE No.:
                                                                                          No. : 16CV299476
                                                                                                16CV299476
             Case 3:18-mc-80132-JSC Document 17-4 Filed 09/07/18 Page 8 of 9



 1                         STATE OF CALIFORNIA,
                           STATE OF CALIFORNIA, COUNTY OF SANTA
                                                COUNTY OF SANTA CLARA
                                                                CLARA

 2        I am employed
                employed in the
                              the County
                                  County of Santa
                                             Santa Clara,  State of California.
                                                    Clara, State    California. I am over the age of 18
                                                                                     over the        18
   and not a party
             party to the within
                          within action;
                                  action; my business
                                             business address
                                                       address is 525 University
                                                                      University Avenue,
                                                                                  Avenue, Palo
                                                                                           Palo Alto,
                                                                                                Alto, CA
                                                                                                      CA
 3 94301;
   94301; and my email
                   email address   is marilyn.garibaldi@skadden.com.
                          addressismarilyn.garibaldi@skadden.com.

 4            On September
                 September 4, 2018, I caused
                           4,2018,    caused to be served
                                                   served the
                                                          the following
                                                              following document(s)
                                                                        document(s) described
                                                                                    described as:

 5       •    NOTICE
              NOTICE OF
                     OF ENTRY
                        ENTRY OF
                              OF ORDER
                                 ORDER

 6 on the
       the interested
           interested parties
                         parties in this
                                    this action
                                         action by placing
                                                   placing a true
                                                             true copy
                                                                   copy thereon
                                                                         thereon enclosed/attached
                                                                                   enclosed/attached in/to
                                                                                                     in/to a
   sealed
   sealed envelope/facsimile
           envelope/facsimile covercover sheet
                                          sheet addressed
                                                addressed as follows:
                                                              follows:
 7
    Via Email
         Email                                                     Email
                                                              Via Email
 8
    David
    David Boies,
             Boies, Esq.
                      Esq.                                    Jay
                                                              Jay P. Lefkowitz,
                                                                     Lefkowitz, Esq.
                                                                                   Esq.
 9 BOIES,
    BOIES, SCHILLER
               SCHILLER & FLEXNERFLEXNER LLP   LLP           Nathaniel
                                                              Nathaniel J.1. Kritzer,
                                                                             Kritzer, Esq.
                                                                                       Esq.
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                  Street                                      KIRKLAND
                                                              KIRKLAND & ELLIS   ELLIS LLP
                                                                                         LLP
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    Armonk, NY  NY 10504
                      10504                                   601
                                                              601 Lexington
                                                                   Lexington Avenue
                                                                                Avenue
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                               749-8200                      New
                                                              New York,
                                                                    York, NYNY 10022
                                                                                 10022
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                       (914) 749-8300
                               749-8300                       Telephone:
                                                              Telephone:       (212)
                                                                               (212) 446-4800
                                                                                       446-4800
    Email:
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              dboies@bsfllp.com                               Facsimile:
                                                              Facsimile:       (212)
                                                                               (212) 446-4900
                                                                                       446-4900
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14 401 Wilshire      Boulevard, Suite
         Wilshire Boulevard,       Suite 850                  Attorneys for
                                                             Attorneys    for Plaintiff,
                                                                              Plaintiff,
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            Monica, CA 9040190401                             PALANTIR
                                                              PALANTIR TECHNOLOGIES
                                                                             TECHNOLOGIES INC.
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    Facsimile:         (310)
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                               752-2490
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    sliu@bsfllp.com
17
    Attorneys for
    Attorneys    for Plaintiff,
                      Plaintiff,
18 PALANTIR
    PALANTIR TECHNOLOGIES
                     TECHNOLOGIES INC.

19
     Z        (BY
              (BY EMAIL)
                    EMAIL) I am readilyreadily familiar
                                                 familiar with
                                                            with the
                                                                  the firm's
                                                                       firm's practice
                                                                               practice ofof email
                                                                                              email transmission;
                                                                                                     transmission; on this  this
20            date,
              date, I caused
                      caused thethe above-referenced
                                     above-referenced document(s)
                                                             document(s) to  to be
                                                                                be transmitted
                                                                                    transmitted by  by email
                                                                                                        email as noted
                                                                                                                   noted above
                                                                                                                           above
              and
              and that
                   that the
                        the transmission
                             transmission was  was reported
                                                     reported as complete
                                                                   complete and without
                                                                                      without error.
                                                                                                error.
   [gJ
21 Z          (BY
              (BY E-FILING)
                    E-FILING) I am readily readily familiar
                                                    familiar with
                                                               with the
                                                                      the firm's
                                                                          firm's practice
                                                                                  practice of transmitting
                                                                                                 transmitting through
                                                                                                                 through the the
22            court's
              court's automated
                       automated e-filing
                                      e-filing transmission
                                                transmission of documents;
                                                                    documents; on this  this date, I caused
                                                                                                       caused the
                                                                                                                the above-
                                                                                                                     above-
              referenced
              referenced document(s)
                           document(s) to    to be transmitted
                                                    transmitted by      e-filing same
                                                                   bye-filing    same as noted
                                                                                             noted above
                                                                                                     above and that
                                                                                                                  that the
                                                                                                                        the
23            transmission
              transmission waswas reported
                                    reported as complete
                                                    complete and without
                                                                      without error.
                                                                                error.

24
     o
     D        (BY
              (BY MAIL)
                    MAIL) I am readily
              of correspondence
                 correspondence for
                                     readily familiar
                                               familiar with
                                      for mailing
                                            mailing with
                                                          with the
                                                      with the
                                                                the firm's
                                                                     firm's practice
                                                            the United
                                                                             practice for
                                                                 United States
                                                                           States Postal
                                                                                        for the
                                                                                             the collection
                                                                                  Postal Service
                                                                                                  collection and processing
                                                                                            Service and thethe fact
                                                                                                                    processing
                                                                                                                fact that
                                                                                                                      that the
                                                                                                                           the
              correspondence
              correspondence would would be deposited
                                                deposited with
                                                             with the
                                                                   the United
                                                                        United States
                                                                                 States Postal
                                                                                          Postal Service
                                                                                                   Service that
                                                                                                             that same
                                                                                                                   same day
                                                                                                                          day in
25            the
              the ordinary
                  ordinary course
                              course of business;
                                            business; on this
                                                            this date, the
                                                                        the above-referenced
                                                                             above-referenced correspondence
                                                                                                    correspondence was   was
              placed
              placed for
                      for deposit
                           deposit at Palo
                                         Palo Alto,
                                                Alto, California
                                                       California and placed
                                                                          placed for
                                                                                   far collection
                                                                                       collection and mailing
                                                                                                           mailing following
                                                                                                                     following
26            ordinary
              ordinary business
                         business practices.
                                     practices. (AS NOTED)
                                                        NOTED)
   ❑
27,0          (BY
              (BY FEDERAL
                    FEDERAL EXPRESS)
                                   EXPRESS) I am readily  readily familiar
                                                                   familiar with
                                                                              with the   firm's practice
                                                                                     the 'firm's  practice for the
                                                                                                                 the daily
                                                                                                                       daily
              collection
              collection and processing
                                 processing of correspondence
                                                   correspondence for deliveries
                                                                            deliveries with
                                                                                         with the
                                                                                                the Federal
                                                                                                     Federal Express
                                                                                                               Express
28            delivery
              delivery service
                         service and the the fact
                                              fact that
                                                   that the
                                                        the correspondence
                                                              correspondence wouldwould be be deposited
                                                                                               deposited with
                                                                                                            with
              Federal
              Federal Express
                       Express thatthat same
                                          same day
                                                 day in the
                                                         the ordinary
                                                              ordinary course
                                                                          course of   business; on this
                                                                                  o~business;          this date,
                                                                                                            date, the
                                                                                                                   the above-
                                                                                                                        above-

                                                                  2
     NOTICE
     NOTICE OF ENTRY
               ENTRY OF ORDER
                        ORDER                                                                   CASE NO. 16CV299476
                                                                                                CASE NO. 16CV299476
         Case 3:18-mc-80132-JSC Document 17-4 Filed 09/07/18 Page 9 of 9



 1
 1        referenced
          referenced document
                       document was
                                 was placed
                                      placed for
                                             for deposit
                                                  deposit at Palo
                                                             Palo Alto,
                                                                    Alto, California
                                                                          California and placed
                                                                                           placed for
                                                                                                  for
          collection
          collection and overnight
                          overnight delivery
                                    delivery following
                                              following ordinary
                                                          ordinary business
                                                                     business practices.  (AS NOTED)
                                                                               practices. (AS  NOTED)
 2
     D
     ❑    (BY
          (BY PERSONAL
                PERSONAL SERVICE)
                              SERVICE)
 3        D By
          ❑      By personally
                    personally delivering
                               delivering copies
                                           copies to the
                                                     the person
                                                          person served.
                                                                   served. (STATE/FEDERAL)
                                                                            (STATEIFEDERAL)

 4
          D I delivered
          ❑       delivered such
                            such envelope
                                 envelope byby hand
                                               hand to
                                                     to the
                                                        the offices
                                                             offices of the
                                                                         the addressee
                                                                             addressee pursuant
                                                                                         pursuant to
          CCP
          CCP § 1011.
                   1011. (STATE/FEDERAL)
                         (STATEIFEDERAL) (as noted) noted)
 5
                                                                                [Name]
                                                                                [Name]
 6
   Z      (STATE/FEDERAL)
          (STATEIFEDERAL) I declare  declare under
                                              under penalty
                                                     penalty of perjury
                                                                perjury under
                                                                          under the
                                                                                the laws
                                                                                    laws of the
                                                                                            the State
                                                                                                State of
 7 ~      California
          California that
                     that the
                          the above
                              above is true
                                         true and correct.
                                                   correct.
   D
 8 ❑      (FEDERAL)
          (FEDERAL) I declare
                           declare that
                                    that I am employed
                                               employed in the
                                                             the office
                                                                 office of a member
                                                                             member of the
                                                                                         the bar
                                                                                             bar of this
                                                                                                    this
          Court
          Court at whose
                   whose direction
                           direction the
                                      the service
                                           service was
                                                   was made.
                                                        made.
 9        Executed
          Executed on September
                        September 4,    2018 at Palo
                                     4,2018       Palo Alto,
                                                       Alto, California.
                                                              California.
10
          Marilyn
          Marilyn Garibaldi
                  Garibaldi
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                                                       3
     NOTICE
     NOTICE OF ENTRY
               ENTRY OF ORDER
                        ORDER                                                    CASE NO. 16CV299476
                                                                                 CASE NO. 16CV299476
